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IN THE UNITED sTATES DISTRICT coURT fm BY ,¢{;.é._ D-G-
FoR THE wESTERN DISTRICT 0F TENNESSEE
WESTERN DIVISION 05 JUL t lt PH l= 3_9
“{MWSM‘GUUD
'-CLE|"£K, U.S. f.`:!STH|CT OOUHT

UNITED sTATEs oF AMERICA W,'U OF `tt»PHB
Plaintiff,

vs cR. No. 05-20095-Ml

REHIA eARToN

Defendant(s)

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause was set for a Change of Plea Hearing on Thursday, July
14, 2005 at 3:00 P.M. Counsel for the government requested a continuance
of the present setting. The continuance is necessary to allow for
additional preparation in the case.

The Court granted the request and continued the matter for a Change
of Plea Hearing to Thursday, August 4, 2005 at 8:45 A.M. and a trial date
of August l, 2005.

The period from July 15, 2005 through August 12, 2005 is excludable
under 18 U.S.C. § 3161(h)(8)(B)(iv} to allow government counsel
additional time to prepare.

IT IS SO ORDERED this the iq day Of July, 2005.

JON P IpPs MccALLA
UNIT sTATEs DIsTRICT JUDGE

Thie document entered on the docket sheet In com nance
with eu\e 55 and/or 32(b) mch on 12 ' /jf“@§§

 

 

ISTRIC COURT - WTERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 49 in
case 2:05-CR-20095 Was distributed by faX, mail, or direct printing on
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Honorable J on McCalla
US DISTRICT COURT

